            Case No. 1:25-mj-00074-CYC               Document 2 filed 04/08/25                USDC Colorado                    pg 1
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  AO 442 (Rev. 11/11) Arrest Warrant




                                       UNITED STATES DISTRICT COURT
                                                    for the District of Colorado


                         United States of America   )
                                                    )
                                 v.                 )
                                                    )    Case No. 25-mj-74-CYC-1
                    CESAR RAMON MARTINEZ SOLIS      )
                             Defendant              )
                                                    )
                                           ARREST WARRANT

   TO:       Any authorized law enforcement officer
          YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary
   delay (name of person to be arrested) CESAR RAMON MARTINEZ SOLIS , who is accused of an offense or violation
   based on the following document filed with the court:
                   Complaint


   This offense is briefly described as follows:

                                                                      on of Ammunition by
  Title 8 United States Code Sections 922(g)(5)(B), Unlawful Possession                y Alien Adm
                                                                                                  mit
                                                                                                    i te
                                                                                                      t Under
                                                                                                Admitted
  a Nonimmigrant Visa.

  Date: April 8, 2025                                                       _______
                                                                                 _____
                                                                                    ____
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                                                                         _______________________________________
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                                                                                                            f cer’s
                                                                                                                 ’ signature
                                                                                                                    signatu

  City and state: Denver, CO                                             The Hon. Cyrus Y. Chung, U.S. Magistrate Judge
                                                                                              Printed name and title

                                                              Return

          This warrant was received on (date)                        , and the person was arrested on (date)                          at
(city and state)                                                 .



Date:
                                                                                             Arresting officer’s signature


                                                                                              Printed name and title




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